
USCA1 Opinion

	










          September 18, 1995
                                 NOT FOR PUBLICATION
                                 NOT FOR PUBLICATION
                                 ___________________

                            UNITED STATES COURT OF APPEALS
                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
                                FOR THE FIRST CIRCUIT
                                 ____________________

        No. 95-1347

                                GENERAL TRADING, INC.,

                                 Plaintiff, Appellee,

                                          v.

                            YALE MATERIALS HANDLING CORP.,

                                 Defendant, Appellee.

                                     ___________

                     GONZALEZ TRADING, INC. &amp; JOSE M. BAEZA, JR.,

                                Defendants-Appellants

                                 ___________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF PUERTO RICO

                  [Hon. Juan M. Perez-Gimenez, U.S. District Judge]
                                               ___________________

                                 ____________________

                                        Before

                                Boudin, Circuit Judge,
                                        _____________
                          Aldrich, Senior Circuit Judge, and
                                   ____________________
                            Coffin, Senior Circuit Judge.
                                    ____________________
                                 ____________________

            Edelmiro Salas Garcia for appellants.
            _____________________
            Leslie W.  Jacobs  with whom  Robert  F.  Ware, Thompson,  Hine  &amp;
            _________________             ________________  __________________
        Flory, Jorge  I.  Peirats, Maria  C.  Jimenez Perez,  and  Pietrantoni
        _____  ____________________________________________        ___________
        Mendez &amp; Alvarez are on brief for appellees.
        ________________

                                 ____________________

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                 Per  Curiam.   On April  28, 1993,  a final  judgment in
                 ___________

            favor  of Yale Materials  Handling Corporation  ("Yale"), was

            entered  in  the  federal  district court  for  the  Southern

            District of  Florida against  General Trading, Inc.  and Jose

            Baeza.  On Yale's motion, this judgment was registered in the

            District of Puerto  Rico on  December 8, 1993.   The  Florida

            district  court subsequently  appointed James  S. Feltman  as

            permanent receiver  and authorized him to  take possession of

            and conserve the property  of General Trading, Inc. and  Jose

            Baeza in order to satisfy the judgment.

                 On December  13, 1994,  Feltman filed an  "Urgent Motion

            Authorizing  Receiver to  Take  Possession of  Asset" in  the

            Puerto Rico federal district  court, seeking authorization to

            seize a yacht in  the possession of Baeza's son,  Jose Baeza,

            Jr.   The district court granted Feltman's motion on the same

            day.  After  discovering that  the yacht had  been moved  and

            apparently renamed,  Feltman filed a  second "Urgent  Motion"

            requesting  authorization to  seize the  re-described vessel.

            The district court granted  the motion on December  16, 1994,

            and Feltman took possession of the yacht the following day.

                 On December 29, 1994, Jose  Baeza, Jr. filed a "Petition

            to  Enjoin Illegal  Acts and to  Vacate `Order,'"  seeking in

            substance the  vacation of  the district court's  December 16

            order.  On January  24, 1995, the district court  denied this

            motion.   Baeza,  Jr. filed  a second  motion on  February 7,



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            1995, captioned  "Motion to Reconsider and  to Enjoin Further

            Acts,"  in which  he  sought reconsideration  of the  court's

            January 24  denial of  his first  motion and  again requested

            vacation of the  December 16  order.  The  court denied  this

            second  motion on February 22,  1995, and Baeza,  Jr. filed a

            notice of appeal on February 27, 1995, challenging the denial

            of both of his motions.

                 Despite their labels, neither of  Baeza's motions sought

            injunctive  relief.  Substance  controls the determination of

            whether an order  is injunctive  for the  purposes of  appeal

            under 28 U.S.C.   1292(a)(1).  Sierra Club v. Marsh, 907 F.2d
                                           ___________    _____

            210, 213 (1st Cir. 1990).  Baeza's first motion simply sought

            the vacation of the court's December 16 order and amounted to

            a motion under Fed. R. Civ. P. Rule 59(e) or  Fed. R. Civ. P.

            Rule 60(b).   If an appeal  had been taken within  30 days of

            its  denial, we  would face  the question  whether  the order

            denying the  first  motion was  a "final"  decision under  28

            U.S.C.   1291, which it quite arguably was.

                 But  no appeal was taken.   Instead, Baeza,  Jr. filed a

            new  motion in February 1995  that could extend  the time for

            appeal only  if it were a Rule 59(e) motion.  Fed. R. App. P.

            4(a).   It may be  debatable whether  a Rule 59(e)  motion to

            alter or amend "a judgment" can be used to challenge an order

            authorizing  a  receiver  to  take  possession  of  property.

            Assuming it  can be, it is  settled that a Rule  59(e) motion



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            that merely repeats arguments made in  a motion attacking the

            original  judgment  does  not  extend the  time  for  appeal.

            Charles L.M. v. Northeast  Independent School Dist., 884 F.2d
            ____________    ___________________________________

            869, 870 (5th  Cir. 1989);  Charles v. Daley,  799 F.2d  343,
                                        _______    _____

            347-48 (7th Cir.  1986).  Nor does a Rule 60(b) motion extend

            the time to appeal from the order sought to be reopened.

                 Here,  the bulk  of  the second  motion merely  restates

            arguments  made in  the  first motion;  the balance  contains

            nothing  of importance that could not have been argued in the

            first motion.  In these circumstances,  the February 7 motion

            did not  toll the time for  appeal.  That in  turn means that

            the time  for appeal is to  be computed from the  date of the

            denial  of the first motion on January 24, 1995.  Appellants'

            notice of appeal was filed on February 27, 1995, more than 30

            days later.  The appeal was therefore untimely.

                 The appeal is dismissed.
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